 Fill in this information to identify your case:

 Debtor 1                  Kenneth Leonard Helsel
                                                            Middle Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name


 United States Bankruptcy Court for the:              DISTRICT OF ARIZONA

 Case number            4:18-bk-11413
 (if known)                                                                                                                          •    Check if this is an
                                                                                                                                          amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                              12/15
If you are an individual filing under chapter 7, you must fill out this form if:
m creditors have claims secured by your property, or
B you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
               on the form


If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

                List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral             What do you intend to do with the property that        Did you claim the property
                                                                          secures a debt?                                        as exempt on Schedule C?



    Creditor's         Mr. Cooper                                         • Surrender the property.                              •       No
    name:                                                                 • Retain the propertyand redeem it.
                                                                          • Retain the property and enter into a                 • Yes
    Description of       1670 E. Daisy Court Casa                            Reaffirmation Agreement
    property             Grande, AZ 85122 Pinal County                    • Retain the property and [explain]:
    securing debt:                                                         Retain and pay

                List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                           Will the lease be assumed?


 Lessor's name:                                                                                                             •   No
 Description of leased
 Property:                                                                                                                  •   Yes


 Lessor's name:                                                                                                             •   No
 Description of leased
 Property:                                                                                                                  •   Yes


 Lessor's name:


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                           page 1

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 Debtor 1      Kenneth Leonard Helsel                                                                Case number (ifknown)       4:18-bk-11413


 Description of leased                                                                                                       n     no
 Property:
                                                                                                                             D Yes

 Lessor's name:                                                                                                              •    no
 Description of leased
 Property:                                                                                                                   •    Yes

 Lessor's name:                                                                                                              Q No
 Description of leased
 Property:                                                                                                                   •    Yes

 Lessor's name:                                                                                                              n    No
 Description of leased
 Property:                                                                                                                   •    Yes

 Lessor's name:                                                                                                              •    No
 Description of leased
 Property:                                                                                                                   •    Yes

IsMiW         Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

X     /s/ Kenneth Leonard Helsel                                                    X
       Kenneth Leonard Helsel                                                           Signature of Debtor 2
       Signature of Debtor 1

       Date        March 19,2019                                                    Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                       page 2

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